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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 USA,                                                 Case No. 17-cr-00609-VC-1
                Plaintiff,
                                                      ORDER DENYING MOTION TO
         v.                                           COMPEL DISCOVERY
 JOSE INEZ GARCIA-ZARATE,                             Re: Dkt. No. 8
                Defendant.



        Jose Garcia-Zarate has filed a motion to compel the government to produce internal

documents relating to its decision to file federal charges against him. Garcia-Zarate seeks these

documents in pursuit of two theories: (i) that the federal prosecution is "vindictive," and a

violation of due process, in the sense that the federal government brought the charges to punish

Garcia-Zarate for exercising a constitutional or procedural right in his state court case; and (ii)

that the federal government controlled the prosecution by the San Francisco District Attorney's
Office, such that it would be a double jeopardy violation to charge him in federal court with the

same crime (being a felon in possession of a firearm) for which he was convicted in state court.

        With respect to the first theory, there is no basis for suspecting that the federal

prosecution is "vindictive" in the narrow sense required to prevail on a claim of vindictive

prosecution. Regardless of whether political factors affected the United States Attorney's

decision to bring federal charges (a matter on which the Court expresses no opinion), there is no

indication that the charging decision was motivated by a desire to punish Garcia-Zarate

specifically for exercising any constitutional or procedural right in the state court case, as would
be necessary to pursue a vindictive prosecution claim. Nor does the federal government's
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apparent dissatisfaction with the result of the state court proceeding, on its own, support a claim

for vindictive prosecution. See generally United States v. Kent, 649 F.3d 906, 912-13 (9th Cir.

2011); United States v. Robison, 644 F.2d 1270, 1272-73 (9th Cir. 1981); United States v. Burt,

619 F.2d 831, 836-38 (9th Cir. 1980).

       The second theory is even weaker. There is no basis for suspecting that the federal

government controlled the District Attorney's efforts during the state prosecution, and thus no

basis for a double jeopardy claim under current law. See generally United States v. Lucas, 841

F.3d 796, 802-07 (9th Cir. 2016); United States v. Zone, 403 F.3d 1101, 1104-07 (9th Cir. 2005)

(per curiam); United States v. Koon, 34 F.3d 1416, 1438-39 (9th Cir. 1994), rev'd in part on

other grounds, 518 U.S. 81 (1996); United States v. Figueroa-Soto, 938 F.2d 1015, 1018-20 (9th

Cir. 1991).

       Accordingly, the motion to compel discovery is denied. Because this is not a close

question, the Court declines Garcia-Zarate's suggestion to review the government's internal

documents in chambers.

       IT IS SO ORDERED.

Dated: May 10, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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